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                            EXHIBIT C
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         US9160606B2                                             Linode (“The accused system”)
1. A remote data processing The accused system practices a remote data processing (e.g., cloud computing, cloud analysis, etc.) method.
method, comprising:
                            The accused system provides cloud infrastructure to perform remote cloud computing, analysis, development,
                            etc.




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         https://www.linode.com/products/linode-api/
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storing first heuristic information    The accused system practices storing first heuristic information (e.g., analysis of usages pattern, log
at a server system about a plurality   information, performance of CPU, memory, network bandwidth etc.) at a server system (e.g., Linode’s cloud
of cloud processing services;          server) about a plurality of cloud processing services (e.g., Linode instances, Virtual machines, etc.) and first
storing first information about a      information about a plurality of computing algorithms (e.g., software, APIs such as marketplace, kubernetes
plurality of computing algorithms      etc.,) available via the server system at one or more of the cloud processing services (e.g., Linode instances,
available via the server system at     Virtual machines, etc.).
one or more of the cloud
processing services;                   Linode cloud infrastructure provides Linode cloud manager which stores usages pattern, log information,
                                       performance of CPU, memory, network bandwidth etc. of Linode cloud products. Its auto resizer (e.g., a server
                                       system) utilizes the information from server to analyze utilization behavior and upgrades (optional service
                                       chosen by user) for an optimum configuration and usages of cloud resources (Virtual Machines).




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         Storing first information about a plurality of computing algorithms (e.g., apps from Marketplace) available
         via the server system at one or more of the cloud processing services (e.g., Linode VMs)
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         https://www.linode.com/marketplace/
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                                   https://www.linode.com/docs/guides/resizing-a-linode/


receiving, at the server system, The accused system practices receiving, at the server system (e.g., Linode cloud servers), input data from a
input data from a remote user;   remote user (e.g., a user).

                                   As shown below, a user of Linode provides input data such as raw data, files, images, videos, etc. for data
                                   analysis and processing using the apps, software, APIs, etc. at the Linode cloud servers.
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         https://www.linode.com/marketplace/apps/
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                                     https://www.youtube.com/watch?v=6VN_PH3DBzY&ab_channel=Linode

receiving, at the server system, a The accused system practices receiving, at the server system (e.g., Linode cloud server), a selection of one of
selection of one of the computing the computing algorithms (e.g., codes, software, APIs) from the remote user (e.g., a user).
algorithms from the remote user;
                                   As shown below, the accused system provides a management console through which a user can check
                                   available or stored apps, software, APIs, etc. It also provides a user selection functionality to select a desired
                                   app, software, APIs, etc. to run on the processing services provided by the accused system.
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determining which one or more of       The accused system practices determining which one or more of the cloud processing services (e.g., Linode
the cloud processing services          instances, Virtual machines, etc.) provide processing of the selected computing algorithm (e.g., code,
provide processing of the selected     software, app such as marketplace (WooCommerce, PLEX), Kubernetes etc.,) and determining, at least from
computing algorithm;                   the first heuristic information (e.g., analysis of usages pattern, log information, performance of CPU, memory,
determining, at least from the first   network bandwidth etc.), a cost for processing (e.g., billing/sizing of utilized Linode resources) the input data
heuristic information, a cost for      (e.g., raw data, images, files, etc.) with the selected computing algorithm (e.g., code, software, app such as
processing the input data with the     marketplace(WooCommerce, PLEX), Kubernetes etc.,) by the one or more determined cloud processing
selected computing algorithm by        services (e.g., Linode instances, Virtual machines, etc.).
the one or more determined cloud
processing services; and




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receiving, at the server system, a   The accused system practices receiving, at the server system (e.g., Linode cloud servers), a selection of the
selection of the one or more         one or more determined cloud processing services (e.g., Linode instances, Virtual machines, etc.) from the
determined cloud processing          remote user (e.g., a user) to perform the processing.
services from the remote user to
perform the processing.              As shown below, the accused system determines processing services such as Linode instances, Virtual
                                     machines, etc., to run software, app, API, etc. It provides Linode cloud manager which analyzes usages
                                     pattern, log information, etc. The Linode cloud manager utilizes the analyzed information to recommend
                                     Linode processing services optimal to use for the software, API, etc. (e.g., selected computing algorithm). It
                                     also provides comparison related to predicted future utilization of currently configured processing services
                                     and recommended processing services. It also provides cost information based on the analyzed data. A user
                                     can select recommended processing services (e.g., Linode instances, Virtual machines, etc.).
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